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    Satanic Washington State - Archived Temple Chapter
    March 21 at 1:40 AM ·
    "There is a revisionist movement in TST about how and why it was founded: it was founded as a prank by an
    opportunistic filmmaker hoping to make a mockumentary about "nice" Satanists as a joke."




    VILLAGEVOICE.COM
    Trolling Hell: Is the Satanic Temple a Prank, the Start of a New
    Religious Movement — or Both? | The Village Voice

           16                                                     10 Comments 2 Shares




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:22 AM ·
    "Ultimately, what it comes down to for me is I can no longer ignore the obvious evidence that my goals and those
    of The Satanic Temple have diverged. "




    MEDIUM.COM
    Why I’m Leaving The Satanic Temple
    I’ve been involved in the New York City chapter of The Satanic Temple for…

               44                                                   60 Comments 10 Shares




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:24 AM ·
    "Over the years, members and chapter heads have requested and proposed the implementation of a gender,
    sexual, and racial diversity policy to ensure equity within TST leadership and alignment to the mission. The
    demand was not simply ignored but completely dismissed. The demand was not hollow; there was a clear and
    pressing need for this policy. While I was part of the organization, I witnessed male members of the organization
    exploit their position and influence to behave inappropriately and disrespectfully towards women."




    MEDIUM.COM
    “The Struggle for Justice is Ongoing”
    On my departure from The Satanic Temple

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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:25 AM ·
    "The Los Angeles Chapter of The Satanic Temple is hereby withdrawing from The Satanic Temple. All active
    members have agreed to this decision."




                       Instagram Post by HelLA: A Satanic Collective • August 4, 2018 at 11:59PM CDT
                                                                 via instagram.com


               31                                                                 12 Comments




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:27 AM ·
    "It has been almost two years since our schism with TST, yet it was as the tumbling of small stones which
    precipitates a landslide. Recently a series of dominoes has fallen because of the unchecked hubris of TST’s
    National Council and Doug Messner. The UK Chapter announced its separation from TST merely a week ago
    now. They were closely followed by the LA Chapter, then Portland Chapter; both of which held deep contempt for
    Doug’s position on white supremacists and the newest wave of neo-Nazism to grip our nation. We have been
    told by TST insiders with whom we have remained friendly, that these will not be the last to depart… that others
    have had similar experiences to our own. Their dissatisfaction with the National Council’s treatment of their
    proposals and the unique situations they deal with in their various regions has lead to the realization that the
    Temple serves mostly as a vehicle for Doug’s personal vendettas. Most notable is his longstanding feud with
    Jason Rapert; a rabid theist in the Arkansas Legislature."




    MEDIUM.COM
    Rise, Decline, and Fall: My Time in The Satanic Temple and
    Beyond

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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:29 AM ·
    "Mary: I was ignored at first. I was banished and not allowed to speak to anyone else in TST. Doug (Lucien) and I
    had a falling out. Following that I talked to the attorney to withdraw. He convinced me to stay on board. I still
    believe in the case, but I don’t want TST in my life."




    MEDIUM.COM
    Mary Doe Speaks: Her Story — The Satanic Temple, a Case
    Experience

               11                                                                 1 Share




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  Satanic Washington State - Archived Temple Chapter
  March 21 at 12:36 AM ·

  The Satanic Temple managed to clatter into the story. A widely shared Slate.com article declared confidently, and wrongly, that
  Missouri's flash-renaissance of abortion access was "thanks to Planned Parenthood and Satanists." (Breitbart carried the error into
  the realm of fantasy, suggesting Planned Parenthood was "teaming up" with the worshipers of the child-sacrifice-demanding
  Moloch.)
  In reality, the Temple's lawsuits were irrelevant, though the Satanists did their best to spin to the contrary.




  RIVERFRONTTIMES.COM
  The Satanic Temple Sought to Upend Missouri Abortion Law.
  Their Plans Went to Hell




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:38 AM ·
    "I also found it peculiar the Satanic Temple TV Instagram had a post which seemed to promote or glamorize August Sol
    Invictus; a left hand Path Individual that wants to restart the civil war, and eliminate Jewish individuals. I thought this would
    be something that needed to be addressed so brought it up to our group admin Ash. The post is still up."




    MEDIUM.COM
    HOW I WAS EXCOMMUNICATED FROM THE SATANIC
    TEMPLE… IN A FEW NONTROVERSIAL STEPS.

            10




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:40 AM ·
    "This is white liberalism with a goat’s head: with the lack of diverse representation at the national level, the
    national initiatives address things that filter through biases of an all white, mostly male, governing body. "



                                   MEDIUM.COM
                                   What Would Satan Do: Knowing When to Pull Anchor and Sail Away.
                                   The cat has been out of the bag for a hot minute now: the members of The Los
                                   Angeles chapter of The Satanic Temple (TST) left and formed…



            21                                                         2 Comments 6 Shares




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:46 AM ·
    "It should be noted that TST has done good and legitimate work on these fronts in the past, and credit should be
    given where it is due. But the unfortunate reality is that, from the top-down, TST is a crypto-fascist organization
    with some members being outright neo-nazis. Of course, it must be mentioned that TST has some members who
    aren’t neo-nazis or neo-fascists and some are even antifascist; that said, we encourage those who are
    antifascists within TST to take a hard look at the reality of the organization they’re involved with and consider
    exiting the group."
    https://tridentantifascism.blackblogs.org/tag/doug-misicko/




            31                                                       74 Comments 5 Shares




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:50 AM ·
    Poke around the original version of the site, cattle skull logo and all. Nine tenets, expressions of appreciation for
    the apparently literal King of Hell, but of course the merch was always there.
    $130 for a robe. Wild.
    ^ADJ
    --
    "We believe that the Family is the most basic core unit of each individual’s Circle of Compassion. Broken,
    dysfunctional families breed broken, dysfunctional individuals who withdraw the reach of their compassion, often
    to the point of becoming brutal, cruel, and irreparably self-interested. For this reason, the Satanic Temple is firmly
    committed to supporting traditional, long-recognized Family Values, and we recognize and respect varied
    individual notions of families."



                                   WEB.ARCHIVE.ORG
                                   The Satanic Temple’s Position on Contemporary Issues
                                   The Satanic Temple’s Position on Contemporary Issues The Satanic Temple supports
                                   the rights of individuals to live their lives as they choose as…



               10                                                       1 Comment 2 Shares




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 12:55 AM ·
    In addition to being a Holocaust denier and white supremacist slated to be a headline speaker at the "Unite the
    Right Rally" in Charlottesville, Augustus Invictus' wife says he's also a spousal abuser.
    "Last month, a woman who said she was Invictus’ wife reported that he held her at gunpoint in front of their
    children and forced her to accompany him to Jacksonville, Florida, according to documents obtained from the
    Rock Hill Police Department in South Carolina. She told police that she was able to escape while in Florida and
    return to South Carolina."
    https://www.splcenter.org/…/augustus-invictus-charged-kidna…
    ^ADJ

                Lucien Greaves
                March 14, 2016 ·

      I regret to announce that I have withdrawn from my role as a scheduled speaker at the forthcoming Left Hand Path Consortium
      to take place in Atlanta early next month. When it was announced that I was to speak at the Consortium, I received a few
      emails from concerned observers who asked why I would appear at an event alongside a "fascistic" character like Augustus Sol
      Invictus, who was also scheduled to speak. While I'm not intimately familiar with the works and philosophy of the man in
      question, I also did not feel that my speaking at the conference constituted an endorsement of his, or anybody else's, point of
      view. Further, his perspective, from what I know, legitimately falls somewhere on a broad spectrum of recognized "Left Hand
      Path" philosophies, whether I find that perspective tenable, consistent, and reasonable, or not (just as Fascism legitimately has
      a place in discussions upon political philosophies without fear that such a discussion lends undue credibility to its contemporary
      implementation. Do we truly know what we're for if we refuse to discuss what we're against?). From what I know, he's part of a
      larger dialogue regarding the Left Hand Path that I feel is worth engaging in.

      I am not withdrawing from speaking because Invictus was invited to speak, but rather because he was recently dis-invited.
      Protesters have harangued the organizers, and the organizers have expressed concerns for the security of their attendees
      were Invictus to remain on the speaker's list. I have no reason to doubt the sincerity of the organizers, however, I feel that the
      dis-invitation sends a harmful message in support of censorship.

      I, too, find some of my speaking events besieged by (religious) protesters, and I hope that civil protest can take place without
      silencing my voice, or anybody else's.

      One might rightly ask if there were any situation in which I might consider not speaking at a conference due to another
      speaker's point-of-view. Of course, If I were going to a Science conference and there was scheduled a Creationist lecturer, I
      would likely find the conference hardly worth attending, much less speaking at. This is because Creationism isn't taken
      seriously by around 100% of credible scientists. If, however, Creationism were, against all reason, taken seriously by some
      30% or more of scientists, and the conference were going to contain lectures by Evolutionary Biologists who were to offer a
      rational view, I would think it the duty of those Evolutionary Biologists to attend, share their knowledge, and confront the poor
      science with hard empiricism.

      I do not think that Invictus's views are in such a disappearingly small minority as to imagine that confronting his opinions give
      them unwarranted exposure. I think his views are prevalent enough within Left Hand Path communities that it is worth our time
      to argue them and delineate how and where we differ in the Satanic Reformation of The Satanic Temple.

      It's easy to stand up for Free Speech when you are fighting for your own voice, or for the voice of those you agree with. It's a
      completely different fight and, arguably, your loyalty to Free Speech only means anything at all, when you're willing to fight for
      the Free Speech of those with whom you disagree.

      I'm sorry to those for whom my bowing out will cause any type of inconvenience. Thank you.


               15                                                        1 Comment 1 Share




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 1:29 AM ·
    Another diagram for better clarity




      Evergreen Memes for Queer Satanic Fiends added a new photo to the album: Artisanal Locally Sourced Satanic Memes.
      March 21 at 1:18 AM ·                                                                                       Like Page

            20                                                          6 Comments 1 Share


                  Like                  Comment                       Share

    Most Relevant

              Write a comment...




                 Author

             Satanic Washington State - Archived Temple Chapter For those
             who were wondering, the cover photo is an actual human quote from
             an actual human person, who for some strange reason wants to go
             on a #DeusVolt #SatanicCrusade to #FreePalestine

             He also "jousts for real", mind you
             ^ADJ




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 1:55 AM ·
    For the record, yes, LG Doug did illustrate a copy of the proto-fascist book "Might Is Right", later cited by the
    Gilroy Garlic Fest shooter as inspiration (https://www.stuff.co.nz/…/white-supremacists-satanists-and-…).
    So he wasn't just dabbling in a bit of drunken "Aryan King" Jew-hatred, and no, it's still something LG Doug has
    never been able to actually speak honestly about, which is why the decision to defend Neo-Nazis and utilize their
    lawyers in the name of "free speech" rings a bit hollow.
    (The deeply antisemitic, racist, and misogynistic book "Might Is Right" by Ragnar Redbeard / Arthur Desmon was
    also the basis for many parts of Anton LaVey's book "The Satanic Bible, so modern Satanism comes by it at
    least two-fold.)
    ^ADJ
    ---
    From the official media training guide:
    [Don't answer] Yes or no questions.
    Question:
    “This is a simple yes or no: "Didn't Lucien illustrate a copy of Might is Right. Isn't that a white supremacist book?”
    Here’s why they’re so insidious: They almost always have an obvious answer, and everyone watching the
    interview knows it. But if you answer with a direct “yes or no,” the resulting quote will be awful.
    Never say "Yes" or "No" to a question like this. It is always a way to trap yourself.
    Let’s say you answer the question by saying, “Yes" in any way The resulting news story will almost certainly read,
    “When asked whether
    Lucien Greaves illustrated a White Suprememcist book, the TST spokesperson said ‘yes.'”
    You don’t have to answer on their terms. Instead, say something like: “I can't speak to something that happened
    almost 20 years ago.
    What we do know is that TST is incredibly inclusive and we welcome members from all walks of life.”




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    Satanic Washington State - Archived Temple Chapter
    March 21 at 2:07 AM ·
    Finally (I think), here's some background on the 2018 departure of many chapters who decided that TST was
    what it was and never would change, given all of its structure and history.
    So, what have we learned?
    No matter how much you think your own chapter is different and disconnected from what happens in Salem, it
    isn't. If you go against the company line, you'll be thwarted, expelled, undermined, or your chapter as a whole will
    have to leave.
    We've learned that authoritarian management structures of volunteers isn't actually a very effective one,
    especially if you don't remember that eventually, like, within a week, you should remove them from all of the
    permissions they had to help build and grow the organization. Or even bother to talk to any of them. That this is
    something that will help membership just shut up and trust your leadership and competence in the future.
    We've learned, I hope, that rather than trying to get everyone to sign NDAs and sign away the rights to their
    photos, you ought to try to treat people decently and, you know, like people. "One should strive to act with
    compassion and empathy toward all creatures in accordance with reason."
    And maybe we've even learned that organizations aren't separable from the people in them. If you have an org
    and you think it's worth sacrificing respect for the people who are in it or have been in it for some higher cause.
    There are still plenty of great people in TST. Good work still is done. And it's never too late to build something
    new. But, many people before you have tried, and it always seems to come to this if you go too far saying
    "fascists are bad" or "trans people are people" or even "we need to have a meeting space that's accessible, even
    if no wheelchair users are members yet."
    So be prepared for that.
    Ave Satanas, wash your hands, and take care of each other. Good night.
    ^ADJ




    VOX.COM
    The Satanic Temple is divided over its leader’s decision to
    hire Alex Jones’s lawyer

           Greg Thompson and 43 others
           44                                                    37 Comments 14 Shares




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  Satanic Washington State - Archived Temple Chapterupdated
  their profile picture.
  March 22 at 5:08 PM ·
  Satanism should be against fascism:
  https://twitter.com/heresysquad/status/1121923401973559296
  That which will not bend must break, and that which can be destroyed by truth should never be spared its demise.
  It is Done.
  Hail Satan!




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